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                                UNITED STATES DISTRICT COURT
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                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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      WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

                   Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                PLAINTIFF WAYMO LLC’S
          vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                UNDER SEAL PORTIONS OF ITS SUR-
    UBER TECHNOLOGIES, INC.;                       REPLY IN OPPOSITION TO ANTHONY
 OTTOMOTTO LLC; OTTO TRUCKING                   LEVANDOWSKI’S MOTION FOR
    LLC,                                           INTERVENTION UNDER RULE 24 AND
                                                MODIFICATION OF ORDER
              Defendants.                          GRANTING IN PART AND DENYING IN
                                                PART PROVISIONAL RELIEF AND
                                                   EXHIBITS THERETO
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                                   [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 541-2 Filed 06/02/17 Page 2 of 2




 1          Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 Portions of its Sur-Reply in Opposition to Anthony Levandowski’s Motion for Intervention Under

 3 Rule 24 and Modification of Order Granting-In-Part and Denying-In-Part Provisional Relief and

 4 Exhibits Thereto (“Administrative Motion”).

 5          Having considered the Administrative Motion, and good cause to seal having been shown,

 6 the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed

 7 below:

 8                              Document           Portions to Be Filed Under
                                                               Seal
 9                      Waymo’s Sur-Reply in       Highlighted Portions
                        Opposition to Anthony
10
                        Levandowski’s Motion
11                      for Intervention Under
                        Rule 24 and Modification
12                      of Order Granting-In-Part
                        and Denying-In-Part
13                      Provisional Relief
14                      Exhibits 2-3 to the       Entire Documents
                        Declaration of Patrick
15                      Schmidt

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            IT IS SO ORDERED.
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     Dated: ______________, 2017
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                                           HON. WILLIAM ALSUP
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                                           United States District Court Judge
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                                                   -2-                   CASE NO. 3:17-cv-00939-WHA
                                     [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
